           Case 1:21-cv-11794-ADB Document 44 Filed 10/05/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     Bush et al v. Fantasia et al
                                  __________________________________________________________

District Court Number:            21cv11794-ADB
                                  __________________________________________________________


Fee:    Paid?          X No ____ Government filer ____ In Forma Pauperis Yes ____ No ____
                 Yes ____


Motions Pending                        X
                          Yes ____ No ____                  Sealed documents                      X
                                                                                     Yes ____ No ____
If yes, document #        _______________                   If yes, document #       _______________

Ex parte documents                     X
                          Yes ____ No ____                  Transcripts                           X
                                                                                     Yes ____ No ____
If yes, document #        _______________                   If yes, document #       _______________


                                                 X
Notice of Appeal filed by: Plaintiff/Petitioner ____   Defendant/Respondent ____ Other: ____

Appeal from:
#40 Memorandum and Order, #41 Order of Dismissal
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#40, #41, and #42
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                        42         filed on__________________.
                                            September 30, 2022


                                                                                          October 5, 2022
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/Matthew A. Paine
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


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